     Case 2:11-cr-00107-WFN   ECF No. 422    filed 09/07/11   PageID.951 Page 1 of 1




 1                            UNITED STATES DISTRICT COURT
 2                        EASTERN DISTRICT OF WASHINGTON
 3
       UNITED STATES OF AMERICA,               )
 4                                             )     NO. CR-11-0107-WFN-17
                        Plaintiff,             )
 5                                             )     ORDER ON BAIL REVIEW
            v.                                 )     (Ct. Rec. 403)
 6                                             )
       DUSTY BLUE ZARATE,                      )
 7                                             )
                        Defendant.             )
 8                                             )

 9         On September 6, 2011, this court held a bail review hearing

10    upon a motion to reconsider.          Stephanie Van Marter, appeared for

11    the government and the defendant was present with CJA counsel Mark

12    Vovos.

13         The Defendant moved for a review of Judge Imbrogno’s order

14    detaining the Defendant pending disposition of his case. (Ct. Rec.

15    282). The Defendant presented the new evidence of a completed drug

16    and alcohol assessment.      The Court heard argument from counsel.

17         The Court denied defendant’s motion for reconsideration for

18    the same reasons set forth in Judge Imbrogno’s order. (Ct. Rec.

19    282). The Defendant will remain in custody pending further order

20    of the Court. (Ct. Rec. 420)

21         IT IS SO ORDERED.

22         DATED this 6th day of September, 2011.

23
                                                      s/ James P. Hutton
24                                                       JAMES P. HUTTON
                                                   United States Magistrate Judge
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      ORDER ON BAIL REVIEW HEARING
